                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION
                      CRIMINAL CASE NO. 2:13-cr-00002-MR-DLH


UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
                                vs.                  )       ORDER
                                                     )
                                                     )
(1) EUDINE TRENAE WILSON;                            )
(2) MARIE LUZINSKI RAYMOND; and                      )
(3) KANDACE RHEAN GRIFFIN.                           )
_______________________________________              )

       THIS MATTER is before the Court on Defendant Eudine Trenae Wilson’s Motion for

Continuance [Doc. 56] and Defendant Marie Luzinski Raymond’s Motion to Continue Docket

Call [Doc. 57].

       On February 20, 2013, the Defendants Eudine Trenae Wilson (“Wilson”), Marie Luzinski

Raymond (“Raymond”), and Kandace Rhean Griffin (“Griffin”) were charged in a Bill of

Indictment with conspiracy to possess with intent to distribute a Schedule II controlled substance

in violation of 21 U.S.C. § 841(a)(1). [Doc. 5]. Defendants Wilson and Raymond were also

charged with possession with intent to distribute oxycodone in violation of 21 U.S.C. §

841(a)(1). [Id.]. Following their arraignments, the Defendants were placed on the March 25,

2013 calendar for trial. The District Court subsequently continued the case to the May 28, 2013

trial term.   [Docs. 15, 19].    On April 1, 2013, the Court granted Defendants Wilson and

Raymond an extension of time, until April 22, 2013, within which to file pretrial motions.

[Docs. 31, 32]. On April 22, 2013, Defendants Wilson and Raymond each filed a motion to

suppress. [Docs. 39, 42]. Based on the filing of these motions, the District Court continued this

case to its present setting during the August 12, 2013 trial term. [Doc. 43].




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       The undersigned conducted a suppression hearing over the course of two days, on June

12 and 20, 2013. The suppression motions are currently under advisement. Defendants Wilson

and Raymond now move for another continuance of the trial date based on the pendency of their

motions. [Docs. 56, 57]. The Government does not oppose the Defendants’ request for a

continuance.

       The Court finds that this case should be continued. As noted above, the Defendants’

suppression motions were only recently heard and are still under advisement. See 18 U.S.C. §

3161(h)(1)(D) (excluding “[a]ny period of delay ... resulting from any pretrial motion, from the

filing of the motion through the conclusion of the hearing on, or other prompt disposition of,

such motion”); 18 U.S.C. § 3161(h)(1)(H) (excluding any “delay reasonably attributable to any

period, not to exceed thirty days, during which any proceeding concerning the defendant is under

advisement by the court”). Under these circumstances, it is unlikely that the undersigned can

issue a memorandum and recommendation and that the same could be ruled upon by the District

Court prior to the commencement of the August 12, 2013 trial term. Accordingly, the Court

finds that a failure to continue the case would result in a miscarriage of justice. See 18 U.S.C. §

3161(h)(7)(B)(i).

       Because no motion for severance has been granted, the continuance of Defendants

Wilson and Raymond justifies the continuance of Defendant Griffin as well. See 18 U.S.C. §

3161(h)(6) (allowing for exclusion of “a reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for trial has not run and no motion for severance

has been granted”).




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       For the reasons stated herein, the ends of justice served by the granting of the continuance

outweigh the best interests of the public and the Defendants in a speedy trial. See 18 U.S.C. §

3161(h)(7)(A).

       Accordingly, IT IS, THEREFORE, ORDERED that Defendant Eudine Trenae

Wilson’s Motion for Continuance [Doc. 56] and Defendant Marie Luzinski Raymond’s Motion

to Continue Docket Call [Doc. 57] are GRANTED, and the above-captioned case is

CONTINUED from the August 12, 2013 term in the Bryson City Division.

       IT IS SO ORDERED.

                                                      Signed: July 24, 2013




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